Case 1:24-cv-01344-RP Document1-10 Filed 11/04/24 Page1of4

EXHIBIT 9

9/15/24, 5:48 PM Case 1:24-cv-01344-RP camamesitaiindhs AdVestersl-AMMe/RelServibtage 2 of 4

| Imaginuity

Calise Partners
launches
AdvVestors®

Dallas, TX (August 1, 2011) — Calise Partners has just announced a marketing services
agreement with HomeVestors of America, the “We Buy Ugly Houses” company, The new
entity named AdVestors’, will provide marketing and media services to the 170+
HomeVestors’ franchisees throughout the United States. AdVestors’ will manage over $4
million in billing across various media channels.

“By creating this venture, we are able to leverage the systems and proven skill sets of the
HomeVestors’ internal team along with the innovation and franchise experience of Calise
Partners,” says Charlie Calise, President of Calise Partners, Inc.

The transition will take place effective immediately. “This is a great opportunity to provide
additional marketing and media resources to our franchisees, with the overall goal of buying
more houses,” said David Hicks, Co-President of HomeVestors.

About Calise Partners, Inc.

Calise Partners is an integrated creative branding agency based in Dallas, TX with offices in
Denver, CO. The company is recognized for its marketing and creative expertise in categories
such as Real Estate, Restaurant, Retail and Financial Services, Hospitality, Health & Beauty,
Food, Beverage, and Pet Care.

About HomeVestors

https:/Avww.imaginuity.com/blog/calise-partners-launches-advestors/ 1/3
9/15/24, 5:48 PM Case 1:24-cv-01344-RP CaDeRarnesitalinch@s Ad\estere|- A MaieBglServibeage 3 of 4
Dallas-based HomeVestors of America, Inc. is the #1 buyer of houses in the U.S. HomeVestors
trains and supports real estate franchisees that specialize in buying and rehabbing residential
properties. Most commonly known as the “We Buy Ugly Houses” company, HomeVestors
strives to make a positive impact in each community. In 2010, for the fifth consecutive year,
HomeVestors was among the prestigious Franchise Business Review's “Top 50 Franchises,” a
distinction awarded to franchisors with the highest level of franchisee satisfaction. For more
information, visit www.homevestors.com.

(Tivestors

HVA MARKETING SERVICES
About the author:
Imaginuity

For over 20 years, Imaginuity has been combining imaginative thinking and innovative technology to create
transformative results for our clients, their customers, and our people. Our services and platforms manage
complexity to improve marketing outcomes.

Relevant Articles

AdScience®

6 leaps in innovation that led to the era of Advertising Science® >
Media

AdScience® provides the framework for results >

Media

Scientific certainty leaves no room for “we think” marketing >

1201 Main St Careers

Suite 1800 Terms & Conditions

Dallas, TX 75202 eis
Privacy & Cookies

Cookie Preferences

Legal

https:/Avww. imaginuity.com/blog/calise-partners-launches-advestors/ 2/3
9/15/24, 5:48 PM Case 1:24-cv-01344-RP  cdixe Gunter tadnchés AdVesters)- A MA0étiaelservifeage 4 of 4
214.572.3900

hello@imaginuity. com

Follow Us

© Copyright 2024 Imaginuity. All Rights Reserved,

hitos:/Awww.imaginuity.com/blog/calise-partners-launches-advestors/ 3
